Case: 4:21-cv-00437-RLW Doc. #: 5-3 Filed: 04/16/21 Page: 1 of 2 PageID #: 667




                 Au Attachment 1
                     Case: 4:21-cv-00437-RLW Doc. #: 5-3 Filed: 04/16/21 Page: 2 of 2 PageID #: 668


  Captured Video: 2020-08-11_Please Pay Attention 7-23-20.mp4

  Facebook Page: www.facebook.com/drericnepute/videos
  Reviewed Date: 9/24/2020, 9/28/2020
  Reviewed By: Roland Brad Au
  Number of Time Stamps Reviewed per Video: 5



# Title                               Date Posted Time Posted  Video Length    Views    Notes
   Common Sense. Dr. Paul Marik vit c    7/22/2020     8:52 AM         16:24   29k      The extra length comes from around the 8:50 mark.
   and vit D3 protocols. Please pay                                                     All of the other videos have lags at that time, but in
 1 attention - Please pay attention                                                     this video, it continues with no freezing.
 2 Please Pay Attention                  7/22/2020    12:31 PM         16:06   22k
 3 Please Pay Attention                  7/23/2020     8:28 AM         16:06   21k
 4 Please Pay Attention                  7/23/2020     2:30 PM         16:06   7.3k
 5 Are You Paying Attention              7/23/2020     9:06 PM         16:06   29k
 6 Please Pay Attention                  7/25/2020     7:58 AM         16:06   48k
 7 Please Pay Attention                    8/2/2020    6:49 PM         16:06   6.4k
 8 Please Pay Attention                    8/3/2020    8:55 PM         16:06   4.7k
                                                                               167.4k
